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 GOLDENBERG, MACKLER, SAYEGH, MINTZ,
 PFEFFER, BONCHI & GILL
 A Professional Corporation
 660 New Road, Suite No. 1-A
 Northfield, New Jersey 08225
 (609) 646-0222 FAX (609) 646-0887
 Attorneys for City of Paterson (57842-10)

 BY:    /s/ Francis J. Ballak
       FRANCIS J. BALLAK, ESQ. (FJB2746)
 ___________________________________________________________________________

                    UNITED STATES BANKRUPTCY COURT
                          DISTRICT OF NEW JERSEY
 ___________________________________________________________________________

 IN RE:                              :     CHAPTER 7
                                     :
                                     :     CASE NO. 17-15942
       ANTHONY OTTILIO,              :
                                     :
                   Debtor.           :     JUDGE: Hon. Michael B. Kaplan
 ___________________________________________________________________________

         NOTICE OF MOTION TO FOR RELIEF FROM AUTOMATIC STAY
 ___________________________________________________________________________

 TO:
 Kenneth J. Rosellini                            U.S. Trustee
 636A Van Houten Avenue                          US Dept of Justice
 Clifton, NJ 07013                               Office of the US Trustee
 Attorney for Debtors                            One Newark Center Ste 2100
                                                 Newark, NJ 07102

 Andrea Dobin,                                   Anthony Ottilio
 McManimon Scotland & Baumann, LLC               511 Passaic Ave
 427 Riverview Plaza                             Spring Lake, NJ 07762
 Trenton, NJ 08611                               Debto
 Ch. 7 Trustee


 Stuart Gold                                     Sherri Jennifer Smith
 Mandelbaum Salsburg et. al.                     Phelan, Hallinan, Diamond & Jones
 155 Prospect Avenue                             400 Fellowship Road
 West Orange, NJ 07052                           Mt. Laurel, NJ 08054
 Creditor – Valley National Bank                 Creditor - U.S. BANK TRUST, N.A., AS TRUSTEE
                                                 FOR LSF8 MASTER PARTICIPATION TRUST BY
                                                 CALIBER HOME LOANS, INC.


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 Andrew L. Spivack                                  Richard James Tracy, III
 Phelan Hallinan Diamond & Jones, PC                Schiller, Knapp, Lefkowitz & Hertzel LLP
 400 Fellowship Road                                30 Montgomery Street
 Suite 100                                          Suite 1205
 Mt. Laurel, NJ 08054                               Jersey City, NJ 07302
 Creditor - U.S. BANK TRUST, N.A., AS TRUSTEE       Creditor – T.D. Bank, N.A.
 FOR LSF8 MASTER PARTICIPATION TRUST

 Allen J. Underwood, II                             City of Paterson
 Becker, Meisel LLC                                 c/o Kathleen Gibson, CTC
 Eisenhower Plaza II                                155 Market Street
 354 Eisenhower Pkwy., Suite 1500                   Paterson, NJ 07505
 Livingston, NJ 07039                               Creditor
 Creditor – Guadalupe Fressie & Bascom
 Corporation



        PLEASE TAKE NOTICE that on Tuesday, December 17, 2018, at 10:00 a.m. in the

 forenoon or as soon thereafter as counsel may be heard, the undersigned attorneys for the City of

 Paterson shall move before the United States Bankruptcy Court, at 402 E. State Street, Trenton,

 New Jersey 08608, before the Honorable Michael B. Kaplan, U.S.B.J. for an Order granting

 relief from the automatic stay pursuant to 11 U.S.C. §§362(d)(1).

        Movant shall rely upon the Statement of Counsel with attached Exhibits.

        Movant requests oral argument in the event opposition is filed.

                               GOLDENBERG, MACKLER, SAYEGH, MINTZ,
                               PFEFFER, BONCHI & GILL
                               Attorneys for City of Paterson


                                      /s/ Francis J. Ballak
                                      FRANCIS J. BALLAK, ESQ. (FJB2746)



 Dated: November 20, 2018




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